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                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
     UNITED STATES OF AMERICA,                                     CASE NUMBER:

                                                      PLAINTIFF      /~        • 1~
                                                                     C~        /\/         l~ ~ ~~ ~ Ll
                                 v.                                                                    Z

                                                                              DECLARATION RE PASSPORT AND
~                  1                      I                                     OTHER TRAVEL DOCUMENTS
          ~ G Ci. (~    S~~~          ~ti `~~r i   DEFENDANT.

I>         ~,.v~ ~~        S~a ~.-  ~~ ~ ems✓ ~                                        ,declare that
                            (Defendant/Material Witness)


  ❑         I have never been issued any passport or other travel document by any country. I will not apply for a passport or
            other travel document during the pendency of this case.
     IJ     I have been issued a passport or other travel document(s). I will surrender my passport and all other travel
            documents) issued to me to the U.S. Pretrial Services Agency by the deadline imposed. I will not apply for a
            passport or other travel document during the pendency of this case.
  ❑         I am unable to locate my passports) or other travel document(s). If I locate any passport or other travel
            document issued to me, I will immediately surrender it to the U.S. Pretrial Services Agency. I will not apply for a
            passport or other travel document during the pendency of this case.

  ❑         My passport and all other travel documents issued to me are in the possession of federal authorities. If any such
            document is returned to me during the pendency of this case, I will immediately surrender it to the U.S. Pretrial
            Services Agency. I will not apply for a passport or other travel document during the pendency of this case.


I declare under penalty of perjury that the foregoing is true and correct.

Executed this          3~ `~~'    day of     ~L~~ ~~               20    l~
at        Los Lbw c,e~~.S , ~k~~~,~ w; ~.
                                   (City and State)                                   !f   (~a~,
                                                                                                            ~?           t
                                                                     Signature ofDefendant/Material Witness


Ifthe declarant is not an English speaker, include the following:
I,                                             am fluent in written and spoken English and
languages. I accurately translated this form from English into
to declarant                                                         on this date.

Date:
                                                                     Interpreter

CR-37 (OS/15}                         DECLARATION RE PASSPORT AND OTHER TRAVEL DOCUMENTS
